Case 1:23-cr-00047-MHC-JEM Document3 Filed 01/09/23 Page1of1
MAGISTRATE’S CRIMINAL MINUTES

COMPLAINT
DATE: slale3 @

TAPE: FTA @_ 37

TIME IN COURT: 3 mins

MAGISTRATE JUDGE CATHERINE M. SALINAS ANGELA SMITH DEPUTY CLERK
CASE NUMBER (.23-M3-0271 DEFENDANT’S NAME Kris top hey Knetbuhler
AUSA Xneodore bhevtz eva DEFENDANT'S ATTY. _Steven orn

Type Counsel! (circle) (Retained) CJA FDP WAIVED
USPO/PTR Cees)

v Initial appearance hearing held.
___Interpreter sworn.
COUNSEL
_____ORDER appointing Federal Defender as counsel for defendant. (___—_s INITIAL APPEARANCE)
_____ ORDER appointing as counsel for defendant.

ORDER defendant to pay attorney’s fees as follows:

_____ORDER giving defendant to employ counsel ( } Verbal ( ) cc by courtroom deputy
PRELIMINARY HEARING

_~_ Preliminary hearing set/reset/cont to i lizies3 @ 1.45 pm

___ Defendant WAIVES preliminary hearing. WAIVER FILED.

____Preliminary hearing HELD. Probable cause found: defendant held to District Court.

Miscellaneous:

BOND/PRETRIAL DETENTION HEARING
f Government Motion for Detention filed. Pretrial Detention Hearing set for that 23 @ his pm

/ Temporary Commitment issued. Remanded to USM.

Bond/Pretrial detention hearing held.

__.__Government Motion for detention GRANTED DENIED.

__ Pretrial detention ordered. (Written order to follow _).

_____ BOND set at $ NON SURETY SURETY
cash property corporate surety ONLY

___ SPECIAL CONDITIONS:

____ Bond filed, defendant released.

___ Bond not executed, defendant to remain in Marshal’s custody.

____ Motion (verbal___—) to reduce/revoke bond hearing held.

____ Motion to reduce/revoke bond GRANTED DENIED

SEE PAGE 2
